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U le. SD|STR|CT COUR\
WESTEER`:|KD|STR!CT OF WASH\NGTON UTV

BY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

18-cv 261?6

 

 

 

 

Murk N\GV€.$ CASE NO
l [10 be 511@<1 in by C1er1<’s 0111¢@]
COMPLAINT.FQR EMPLOYMENT
DISCRIMINATION
P_laintiff($)’ Jury Trial: |:| Yes |:] No
V.
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EM»\\\{ Lo\r(on

 

` 1 Defendant(s).

 

I. THE PARTIES TO THIS COMPLAINT
A. Plaintiff(s)

Provide the information below for each plaintijj‘ named in the complaint Attach
additional pages ifneea'ed.

Name M;\r k \"\O\I e_§ l

Street Address "SL\O 5 \\ ‘\':`, R'L\+‘“ S+
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State and Zip Code \1\1 Q,_s\\. NJ,-hm . C\ <;1\5'
Telephone Number j \3 "l \§ 3 1 c\ 01

COMPLAINT FOR EMPLOYMENT DISCRIMINATION - l

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B. Defendant(s)

~ Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation F or an
individual defendant, include the person 's job or title (ifknown). Attach additional pages if
needed

Defendant No. 1

 

 

 

 

 

Na“‘e 5111€ "\§ mg
Job or Title (ifknown) CE_.O .
Street Address z l 00 51 60 q -H\ Ave\ SJ V_H/‘
::::::d::unty K"'j“‘+" \"’A k"“a
P C°de WA qxozz
Telephone Number '

 

Defendant No. 2

 

 

 

 

 

Name Em§l\/ l_arsm\
Job or Title (ifknown) H R 7
Street Address rL»\ 00 51 (£~.i‘|`\` AV g 53 b~`\»L\
City and County K(_M_\_ l \]JA., kino`
State and Zip Code » l d
\NA,. 01103 2
Telephone Number

 

Defendant No. 3

Name Mron vbca
10b or Title (ifknown) r » 5 Ham acf
. 0
Street Address 1 l 005.» (¢1_. '1'\\ AV a g 0 v .'\,`\,\
City and County l<e'|"\_¥v ,\A/ A. .`<1 '\6
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State and Zip Code \N k q 8 0 11
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Telephone Number l

 

COMPLAINT FOR EMPLOYMENT DISCRIMINATION - 2

 

 

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C.

dpply)=

Defendant No. 4

Name Bfa€i l ¢.\{ Doé

 

 

 

 

 

 

Job or Title (ifknown) \ o f
Street Address ’2_ \ 0 05 (,¢l-| 'H" A\, g 50 v'l`\'\
Clty and County |'<Ln +, ` kl ma f g\, ,,\Jq\;
State and Zip Code W A l q g 0 il ‘
Telephone Number l v

Place of Employment

The address at Which l sought employment or was employed by the defendant(s) is:

 

 

 

 

Name ` A'»~\ 01 z on \/\/ o\Ya,l/\ ové"g_
StreetAddress “1\00 r; (,¢'-\H‘ sz¢. So\fi\\'
City and County 1<@_\¢\'\~ l, K"\ maj 60 \) »-c\"\`l

State and Zip Code \,J l\, q 3 0 3 "L

Telephone Number

 

II. BASIS FOR JURISDICTION

This action is brought for discrimination in employment pursuant to (check all that

/
\/ Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
to 2000e-17 (race, color, gender, religion, national origin).

 

 

 

 

(Note: In order to bring suit in federal district court under Title VII, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

 

 

 

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

 

(Note.' In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first Fle a charge with the
Equal Employment `Opportunity Commission.)

COMPLAINT FOR EMPLOYMENT DISCRIMINATION - 3

 

 

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/ ,
\/ Amen'cans With Disabilities Act of 1990, as codiHed, 42 U.S.C. §§ 12112
to 121 17.

(Note: In order to bring suit in federal district court under the
Americans with Disabilities Act, you must first obtain a Notice of Right
to Sue letter from the Equal Employment 0pportunity Commission.)

 

 

 

 

 

Other federal law (specify the federal law):

 

 

 

Relevant state law (specijj), if known):

 

 

 

 

 

 

Relevant city or county law (specij), if known):

 

III. STATEMENT OF CLAIM

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as
possible the facts showing that each plainti# is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiffs rights, including the dates and places of that involvement or
conduct lf more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph Attach additional pages if needed

 

 

 

A. The discriminatory conduct of which_l complain in this action includes (check all that
apply)r

Failure to hire me.
Termination of my employment

Failure to promote me.

§JAE

Failure to accommodate my disability.
M Unequal terms and conditions of my employment
y Retaliation.

COMPLAINT FOR EMPLOYMENT DISCRIMINATION - 4

 

 

 

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|:1 Other acts (specify):

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

 

C. I believe that defendant(s) (check one):

|:| is/are still committing these acts against me.
is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check all that apply and explain):

M/ race

color

 

 

gender/sex

 

religion

 

national origin

 

age (year of birth) (only when asserting
a claim of age
discrimination )

36 1351ng

disability or perceived disability (specifv disability)

 

E. The facts of my case are as follows. Attach additional pages if needed.

 

 

 

(Note.' As additional support for the facts of your claim, you may attach to this complaint
a copy of your charge filed with the Equal Employment 0pportunity Commission, or the charge
filed with the relevant state or city human rights division.)

COMPLAINT FOR EMPLOYMENT DISCRIMINATION - 5

 

 

 

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IV. EXHAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES
A. lt is my best recollection that I filed a charge With the Equal Employment Opportunity
Commission or my Equal Employment Opportunity counselor regarding the defendant's

alleged discriminatory conduct on (date)

:1`111\{-5,z 2017

 

 

B. The Equal Employment Opportunity Commission (check one):

l:l has not issued a Notice of Right to Sue letter..

\§:| issued a Notice of Right to Sue letter, Which il
received on (date)

No\/ ‘30,, 2017

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint )

C. Only litigants alleging age discrimination must answer this question.
Since filing my charge of age discrimination With the Equal Employment Opportunity

Commission regarding the defendant's alleged discriminatory conduct (check one):

|:] 60 days or more have elapsed.
l:l less than 60 days have elapsed.

V. RELIEF

State briefly and precisely what damages or other relief the plaintiij asks the court to order. Do
not make legal'arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actualvdamages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages

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COMPLAINT FOR EMPLOYMENT DISCRIMINATION - 6

 

 

 

 

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VI. CERTIFICATION AND CLOSING

l Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the
Clerk's Oche may result in the dismissal of my case.

Date ofsigning: 2_/ 5 _/ 18

Signature of Plaintiff /%¢/{ o

Printed Name of Plaintiff Mc\t‘i( 011/cs

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

COMPLAINT FOR EMPLOYMENT DISCRIMINATION - 7

 

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Mark Mayes 3405 N.E. 84“‘ Street Seattle, 313.718.3749 _
` WA 98115 '

Pagel~i STATEMENT OF CLAlM

l was hired on or about May 30, 2017 as a picker. My race is African American. Atthe start of my
employme nt, l was trained by someone who wasn’t taught to train. Later, l was targeted afterl asked a
HR memberwhy she worea T-shirtthat alluded to a derogatory slur "gangster nigger." She was very
uncomfortable then got an attitude. Then would whisperto herco-workerand look at me when l
walked by. Shortly after, within myfirst week i gotwrote upfrom Andreus. l continued to feel targeted
because of his overaggressive demeanor. He told me l might get fired every time l spoke with hi m. itold
Bradley what happen and l thought it was because of my skin color.l was subjected to harassment an d
disciplinary write ups every day afterthat. l received many false readings of my performance l believe
that the reason was my race, African American, because the records was not true. My production was
good. l was disciplined more severely than those of non-African American races. l had a floor manager
(Aaron) tell me "l’m bright,“ while pointing at his skin. That was right aftera co-workertold me l smell
like watermelon while the managerwas there. l complained to managementthatthe write ups were
not justified underthe employer's policies. Managers made more racial remarks. Laughing and
humiliating me.They told me sarcastically "hang in there "every day. White managers and HR
members(Skylar) told me this while in front of a board that referred to them as "Owner‘s." The entire
time l was working on an ankle that needed screws removed. l was told nothing was wrong and to
return to work with a case boot. On lune 8, 2017, an HR employee "Emilythreatened my lifewhen she
told me. "We are gunning on you“. While making a gun with her fingers pointing at me. Aaron
(operations manager) latertold me "l got 14 bullets foryou. This has caused continuing emotional pain,
suffering, inconvenience, mental anguish, dehumanization, fear, PSTD, post traumatic slave syndrome,
humiliation, tainting twice, feeling of estrangement from others since offoreshortened future and loss
of enjoyment of life. l was afraid for my life causing me to re portthe situation to the police. The CEO did
not take propersteps to stop the hostile work environment Even aftersending emails. .leffBezos didn't
follow its own policy. After my complaints l\nclres and Andersen went on paid leave without any
apology. l spoke with the top manager in the plant. He told me that he will get me transferred to a
different warehouse, and that i didn‘t have to worry about getting fired. l was laterfired for not coming
to work.

Case 2:18-cv-00176-|\/|.]P Document 1-1 Filed 02/05/18 Page 9 of 10

Mark Mayes 3405 N.E. 84“‘ Street Seattie, 313.718.3749

WA 98115

Page 5 The facts of my case are as follows. Attached additional page

l was hired on or about May 30, 2017 as a picker. My race is African American.

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At the start of my employment, l was trained by someone who wasn’t properlytaught to train.
Later, l was targeted afterl asked a HR memberwhy she wore a T-shirtthat alluded to a
derogatory slur "gangsternigger. "

Shortly after, within myfirst week l got wrote upfrom Andreus. l continued to feel targeted
because of his overaggressive demeanor. He told me l might get fired every time l spoke with
him. `

l told Bradley what happen with Andreus and l thought it was because of my skin color. l was
subjected to harassment and disciplinary write ups every day afterthat. l received many false
readings of my performance l believethatthe reason was my race, African American, because
the records was not true. My production was good. l was disciplined more severely than those
of non-African American races.

l complained to management and HR that the write ups from both Bradley and Andreus were
notjustified underthe employer's policies Managers made more racial remarks Laughing and
humiliating me.

l complained that i was being harassed daily to HR they were unresponsive and directed me to
leave the office on many occasions
White managers and HR membercontributed to a racist hostile work environment while in front

7 of a board that referred to them as "Owner’s.“

10.

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The entire time l was working on an ankle that needed screws removed. l was told nothing w as
wrong and to return to work with a case boot.

On June 8, 2017, an HR employee "Emilythreatened my life when she told me. "We are gunning
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Aaron (operations manager) latertold me "l got 14 bullets foryou. This has caused continuing
emotional pain, suffering, inconvenience mental anguish, dehumanization, fear, PSTD, post
traumaticslave syndrome, humiliation, tainting twice, feeling of estrangementfrom others since
of foreshortened future and loss of enjoyment of life. l was afraid for my life causing me to
reportthe situation to the police.

The CEG did not take propersteps to stop the hostile work environment Even aftersending
emails. leff Bezos didn‘tfollow its own p_olicy. After my complaints Andres and Andersen went
on paid leave without any apology. `

l spoke with the top managerin the plant. He told me that he willget metransferredto a y
different warehouse, and that i didn‘t have to worry about gettingfired (We agreed that l didn ’t `
have to come back to work for feaer my life.) l was laterfired for not coming to work. `

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Mark Maye_<; 3405 N.E. 84"1 streetsearne, 93 Z

Defendant(s)

No.5 Aaron Doe
Floor Manager

721005 64*." Ave. South
Kent, King
Washington, 98032

No. 6 Andreus Floor Manager
Do£.

Floor Manager

21005 64"‘ Ave.South

Kent, King

Washington, 98032

No._7 Sky|ar 'D,,¢
HR

Floor Manager

21005 64"‘ Ave.South
Kent, King
Washington, 98032

No. 8 Lady with shirtstating (Gangster Napper)

T¢av\¢- D o¢-
Floor Manager

21005 64"’ Ave. South
t Ke nt, King
Washington, 98032

313.718.3749

`__j: r¢q<..a.r-i~ +1\'._; ces¢

"\) Se“\“é '

